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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI


ANDREA WILLIAMSON                                       )
                                                        )
Plaintiff,                                              )
                                                        ) Civil Action No. 4:16-CV-00426
v.                                                      )
                                                        )
WILLIAMS & FUDGE, INC.                                  )
                                                        )
                                                        )
Serve at:                                               )
Gary L Williams                                         )
300 Chatham Avenue                                      )
Rock Hill, South Carolina 29731                         )
                                                        )
Defendant.                                              )


                                             COMPLAINT

         COMES NOW, Plaintiff, and for her Complaint states as follows:

                                           INTRODUCTION

         1.     This is an action for damages brought by an individual consumer for violations of

the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”) which

prohibits debt collectors from engaging in abusive, deceptive and unfair practices.

         2.     Plaintiff demands a trial by jury on all issues so triable.

                                           JURISDICTION

         3.     This Court has jurisdiction of the FDCPA claim under 15 USC 1692k (d) because

the illicit collection activity was directed at Plaintiff in Saint Louis, Missouri. Venue is also

appropriate for this reason.

                                               PARTIES

         4.     Plaintiff is a natural person currently residing in Saint Louis, Missouri. Plaintiff is

a “consumer” within the meaning of the FDCPA. The alleged debt Plaintiff owes arises out of

consumer, family, and household transactions.
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        5.     Defendant is a company with its principal place of business in Rock Hill, South

Carolina. The principal business purpose of is the collection of debts in Illinois and nationwide,

and Defendant regularly attempts to collect debts alleged to be due another.

        6.     Defendant is engaged in the collection of debts from consumers using the mail

and telephone. Defendant is a “debt collectors” as defined by the FDCPA. 15 U.S.C. 1692a (6).

                                              FACTS

        7.     Defendant’s collection activity of which Plaintiff complains occurred within the

previous twelve (12) months.

        8.     On or about April 29, 2015 Plaintiff received a collection letter from Defendant

stating that she had a balance due of $8,438.65 allegedly owed to the University of Missouri-

Kansas City (“UMKC”).

        9.     Defendant sent an itemized breakdown that included collection cost of $1,752.30.

This figure represents roughly twenty percent of the alleged balance due.

        10.    On or about December 17, 2015, UMKC filed suit against Plaintiff.

        11.    In that suit, UMKC states the $1,752.30 as collection costs and attorney’s fees.

        12.    That Defendant has not incurred collection costs totaling $1,752.30.

        13.    That Defendant attempted to collect an amount to which they are not legally

entitled.

        14.    Plaintiff never entered into any agreement whereby she consented to arbitrate

disputes between herself and Defendant.

        15.    Defendant’s collection attempts have caused Plaintiff to incur actual damages

including but not limited to anxiety and worry.

                             COUNT I: VIOLATION OF THE FDCPA

        16.    Plaintiff re-alleges and incorporates by reference all of the above paragraphs.



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       17.    In their attempts to collect the alleged debt from Plaintiff, Defendant has

committed violations of the FDCPA, 15 USC 1692 et. seq., including, but not limited to, the

following:

       a.     Attempting to collect an amount not authorized by agreement or permitted by

law. 15 U.S.C. § 1692f(1).

       b.     Using false, deceptive, or misleading representations or means in connection

with the debt collection. 15 U.S.C. § 1692e preface and e(10).

       c.     Engaging in false, deceptive, harassing, and unfair conduct in the collection of a

debt. 15 U.S.C. § 1692d-f.

       d.     Communicating a false impression regarding the amount of the debt. 15 U.S.C.

§ 1692e(2).

       WHEREFORE, Plaintiff respectfully requests that the Court certify the above-proposed

FDCPA classes, appoint the undersigned as class counsel, and also request that judgment be

entered against Defendant for:

       A.     Judgment that Defendants’ conduct violated the FDCPA;

       B.     Actual damages only in the event the proposed classes are not certified;

       C.     Release of the alleged debt;

       D.     Statutory damages, costs and reasonable attorney’s fees pursuant to 15 USC

       1692(k); and

       E.     For such other relief as the Court may deem just and proper.

                                             THE EASON LAW FIRM, LLC

                                             /s/ James W. Eason
                                             ______________________________
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